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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129-NYW-SBP

ERIC COOMER, Ph.D.,
      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,
     Defendants


           PARTIES’ REMAINING OBJECTIONS TO DESIGNATIONS OF
     JOSEPH OLTMANN DEPOSITION TESTIMONY TO BE PRESENTED AT TRIAL


        The Parties, through counsel, submit the following remaining objections to the

designations of deposition testimony to be presented at trial.

        Witness                   Start                Stop             Objections      Supporting or
                                                                                        Relevant Case
                                                                                            Law
 Oltmann, Joseph          24:7                 33:24
 (Dec. 16, 2022)          35:15                35:19
                          37:12                38:1-3
                          38:19                39:9
                          39:13                39:18
                          45:6                 45:21                Irrelevant,        FRE 401
                                                                    non-responsive.
                          46:1                 46:1-13
                          47:17                47:22
                          48:7                 48:24
                          49:14                49:23
                          53:15                61:3



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      Witness              Start             Stop          Objections          Supporting or
                                                                               Relevant Case
                                                                                   Law
                   66:13             66:21
                   67:9              76:8              71:16-72:23 –          FRE 401,
                                                       Irrelevant,
                                                       non-responsive.
                   76:9              77:7
                   77:8              77:19             Irrelevant,            FRE 401,
                                                       non-responsive.
                   77:20             80:18
                   80:19             82:25             Speculation, lack      FRE 602, 701
                                                       of personal
                                                       knowledge,
                                                       improper opinion.
                   83:7              87:11             Speculation, lack      FRE 602, 701, 801
                                                       of personal
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   87:17             87:24
                   88:1              90:17             Speculation, lack      FRE 401, 602
                                                       of personal
                                                       knowledge,
                                                       irrelevant.
                   91:4              93:3              Speculation, lack      FRE 401, 602
                                                       of personal
                                                       knowledge,
                                                       irrelevant.
                   94:23             98:9              Speculation, lack      FRE 401, 602, 801
                                                       of personal
                                                       knowledge,
                                                       irrelevant, hearsay.
                   104:1             105:25            Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.



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      Witness              Start             Stop          Objections          Supporting or
                                                                               Relevant Case
                                                                                   Law
                   107:25            114:4             Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   115:22            120:9             Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   121:1             122:22            Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   123:18            129:25            Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   130:3             130:25            Irrelevant.            FRE 401
                   131:18            131:22            Hearsay.               FRE 801
                   132:1             132:16            Irrelevant.            FRE 401
                   132:23            135:3             Lacks relevance        FRE 401, 602
                                                       and personal
                                                       knowledge.
                   135:3             136:1             Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   136:2             143:20            Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.



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      Witness              Start             Stop          Objections          Supporting or
                                                                               Relevant Case
                                                                                   Law
                   143:21            145:4
                   145:25            146:25            Speculation, lack      FRE 401, 602, 701
                                                       of personal
                                                       knowledge,
                                                       irrelevant,
                   147:1             147:25            Hearsay.               FRE 801
                   149:1             149:12            Speculation, lack      FRE 602
                                                       of personal
                                                       knowledge.
                   154:7             157:14            Speculation, lack      FRE 602
                                                       of personal
                                                       knowledge.
                   158:2             158:6
                   158:7             164:2             Speculation, lack      FRE 401, 602,
                                                       of personal            701, 801
                                                       knowledge,
                                                       irrelevant, hearsay,
                                                       improper opinion.
                   183:8             186:20            184:13-186:20          FRE 401
                                                       Irrelevant.
                   188:21            192:16            Speculation, lack      FRE 401, 602, 701
                                                       of personal
                                                       knowledge,
                                                       irrelevant,
                                                       improper opinion.
                   194:16            195:24
                   195:25            196:14
                   196:24            197:21            Irrelevant.            FRE 401
                   197:22            199:25            Irrelevant and         FRE 401 and 801
                                                       hearsay
                   200:11            202:5             Speculation and        FRE 401, 602
                                                       Relevance
                   203:15            203:24




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      Witness              Start             Stop          Objections       Supporting or
                                                                            Relevant Case
                                                                                Law
                   204:2             205:22
                   205:23            206:15
                   207:2             212:9             Speculation and     FRE 401, 602
                                                       Relevance
                   223:4             228:1
                   228:24            231:25            Irrelevant,          FRE 401, 602
                                                       speculation, lack of
                                                       personal
                                                       knowledge.
                   243:4             243:15            Speculation and     FRE 401, 602
                                                       Relevance
                   253:21            255:1             Hearsay,             FRE 602, 801
                                                       speculation, lack of
                                                       personal
                                                       knowledge.
                   257:23            258:20            Hearsay,             FRE 602, 801
                                                       speculation, lack of
                                                       personal
                                                       knowledge.
                   261:20            262:9             Lack of personal    FRE 602
                                                       knowledge.
                   262:10            266:22
                   267:13            269:5
                   273:16            274:12
                   275:6             275:16
                   276:1             294:12
                   294:13            294:19
                   294:25            299:2




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      Witness              Start             Stop          Objections        Supporting or
                                                                             Relevant Case
                                                                                 Law
                   299:3             300:9             Irrelevant,          FRE 401, 602
                                                       speculation, lack of
                                                       personal
                                                       knowledge,
                                                       misstates the
                                                       evidence.
                   300:10            305:10
                   306:15            311:3                                 FRE 602, 801
                   313:10            321:9             Relevance,           FRE 401, 801,
                                                       Hearsay,             602, 608
                                                       speculation, lack of
                                                       personal
                                                       knowledge,
                                                       improper
                                                       impeachment


                   322:14            324:25
                   325:11            327:9
                   327:10            329:2             Hearsay.            FRE 801
                   331:2             334:23
                   335:13            340:23            Relevance,          FRE 401, 602, 901
                                                       improper
                                                       foundation, lacks
                                                       personal
                                                       knowledge
                   341:13            343:22
                   345:1             349:10            Journalist Privilege Section 13-90-119
                                                                            - Privilege for
                                                                            newsperson
                   352:13            363:25            Argumentative;      FRE 403, 611
                                                       counsel is
                                                       testifying




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Transcript Legends of Oltmann Transcript submitted to Chambers:

       Plaintiff’s Designations            Green Highlights

       Defendants’ Designations            Orange Highlights


       Respectfully submitted this 5th day of May 2025.


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